1                                                  HONORABLE JUDGE CHRISTOPHER M. ALSTON

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7
                                UNITED STATES BANKRUPTCY COURT
8                               WESTERN DISTRICT OF WASHINGTON

9
        In re.
10                                                            No. 23-10766-CMA
        ERIC THOMAS STAMNES,
11                                                            Adversary Proceeding:
                                              Debtor.
12                                                            CREDITOR       JANE    DOE     AKA
       JANE DOE, also known as Danielle Bennett,              DANIELLE                BENNETT’S
13                             Plaintiff,                     ADVERSARY         COMPLAINT     TO
                                                              EXEMPT DEBT FROM DISCHARGE
14      v.                                                    BASED         UPON       CRIMINAL
15      ERIC THOMAS STAMNES,                                  RESTITUTION        PURSUANT     TO
                                                              BANKRUPTCY         CODE    SECTION
16                                    Defendant Debtor.       1328(a)(3); AND WILLFUL OR
                                                              MALICIOUS CONDUCT PURSUANT
17                                                            TO BANKRUPTCY CODE SECTION
                                                              1328(a)(4); BASED ON AN AWARD OF
18                                                            RESTITUTION UNDER PENAL CODE
                                                              SECTION       1214(B)   OR    CIVIL
19                                                            JUDGMENT
20
             COMES NOW, Jane Doe, also known as Danielle Bennett (“Plaintiff”), a creditor herein
21
     by and through her counsel of record, and files this adversary complaint objecting to the discharge
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     of the debt based on “restitution or damages, awarded in a civil action against the debtor as a result
23
     of willful or malicious injury by the debtor that caused personal injury to an individual or the death
24

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      Adversary Complaint to Exempt Debt from Discharge- 1                    Wong & Fleming
                                                                       9840 Willows Rd NE, Suite 200
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1    of an individual”; and “restitution, or a criminal fine, included in a sentence on the debtor’s

2    conviction of a crime.”

3           The debt of which Plaintiff complains results from two Judgments: 1) Order for Victim
4    Restitution entered by the California Superior Court, Contra Costa County on February 21, 2020
5
     in Docket No. 05-181879-8 (People of the State of California v. Eric Thomas Stamnes),
6
     domesticated in Washington in Pierce County Superior Court Case No. 22-2-07818-4 (Jane Doe
7
     v. Eric Thomas Stamnes) in the total amount of $7,851.71 (hereafter, “Criminal Judgment”); and
8
     2) Judgment entered by the entered by the California Superior Court, Contra Costa County on
9
     March 22, 2022 in Case No. C19-00815 (Jane Doe v. Eric Thomas Stamnes), domesticated in
10
     Washington in Pierce County Superior Court Case No. 22-2-07818-6 (Jane Doe v. Eric Thomas
11

12   Stamnes) in the total amount of $46,560.00. The combined judgment amount totals $54,411.71.

13   Both of these judgments were entered against Defendant Debtor Eric Thomas Stamnes (hereinafter

14   referred to as “Defendant Debtor”) pursuant to 11 U.S.C. § 1328(a)(4) and Bankruptcy Rule

15   4004(d) and 7001(4) of the Federal Rules of Bankruptcy Procedure.
16                                          I.         JURISDICTION
17
        1. This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. Section 1334.
18
        2. Venue of this proceeding is proper in this District pursuant to 28 U.S.C. § 1409(a).
19
        3. This adversary proceeding is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(j).
20
                                                 II.     PARTIES
21
        4. Defendant Debtor filed an order for relief under Chapter 7 of the Bankruptcy Code in the
22
     United States Bankruptcy Court, for the Western District of Washington on April 27, 2023,
23

24   (hereinafter referred to as “the Petition Date”). See, Docket Entry No. 1.

25      5. Defendant Debtor is believed to be an individual residing in King County, Washington.

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1        6. Plaintiff is a judgment creditor of Defendant Debtor and an individual residing in Contra

2    Costa County, California.

3
                       III.  FACTUAL AND PROCEDURAL BACKGROUND
4        7. Plaintiff and Defendant Debtor met on June 26, 2014 and began a dating relationship in
5    June of 2014.
6
         8. In January 2015, Defendant Debtor moved in with Plaintiff.
7
         9. Plaintiff ended the relationship with Defendant Debtor in April 2015 because of Defendant
8
     Debtor's controlling and abusive behavior as well as Plaintiff's discovery that Defendant Debtor
9
     was a long-time, habitual crack cocaine abuser and an alcoholic.
10
         10. On or about October 17, 2015, Defendant Debtor showed up at Plaintiff’s residence while
11
     she was helping her daughter prepare for her homecoming dance. Defendant Debtor was visibly
12

13   intoxicated.

14       11. Plaintiff demanded that Defendant Debtor leave the home multiple times, but he refused to

15   leave.

16       12. Plaintiff insisted that Defendant Debtor must leave and be gone by the time she returned.
17   Plaintiff then left her residence.
18
         13. While Plaintiff was with her daughter, Defendant Debtor sent multiple, continuous
19
     harassing texts and phone calls, calling Plaintiff insulting names and berating her.
20
         14. Plaintiff initially ignored the insults, but eventually answered one phone call, once again
21
     demanding that Defendant Debtor leave the home. When Plaintiff returned with her daughter four
22
     hours later, Defendant Debtor violently and threateningly threw his fist towards Plaintiff's face,
23
     missing her by less than a quarter-inch.
24

25       15. Defendant Debtor threw his fist toward Plaintiff in this manner two times.

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1        16. Defendant Debtor then grabbed Plaintiff’s arm, throwing her to the ground.

2        17. Defendant Debtor continued to attack Plaintiff as she attempted to get to the bathroom for

3    protection.
4        18. Plaintiff called 911, whereupon Defendant Debtor was arrested for domestic violence, and
5
     an Emergency Protective Order was issued.
6
         19. Subsequently, in October 2015, Plaintiff sought a temporary domestic violence restraining
7
     order against Defendant Debtor.
8
         20. Plaintiff thereafter decided not to pursue a permanent restraining order because Defendant
9
     Debtor promised to seek treatment for his drug and alcohol addictions.
10
         21. On April 17, 2016, Defendant Debtor broke into Plaintiff's home while she was in Hawaii
11

12   with her daughter.

13       22. Plaintiff was alerted to the break-in upon receiving dozens of insulting and berating texts,

14   emails and phone calls from Defendant Debtor.

15       23. Defendant Debtor invaded Plaintiff's personal belongings and accessed her email on her
16   computer, reading her personal information.
17
         24. Plaintiff called the police from Hawaii, who went to her home, found Defendant Debtor
18
     there, and ordered him to leave.
19
         25. Immediately after this incident, Plaintiff was so distraught that she had to seek care from
20
     her therapist to deal with the invasion and harassment.
21
         26. On July 13, 2016, Defendant Debtor showed up at Plaintiff's home at 6:00 a.m. He rang
22
     her doorbell and pounded loudly on her door. He then walked around the property in an attempt
23

24   to enter.

25       27. Plaintiff eventually opened the door at one point to tell him to leave.

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1       28. Defendant Debtor entered the home enraged and yelling, though his words were garbled

2    and incoherent.

3       29. Plaintiff told Defendant Debtor that she was calling the police. When she called 911,
4    Defendant Debtor attempted to take Plaintiff's phone as she called for help.
5
        30. Once outside the home, Defendant Debtor tried to enter the home again through the kitchen
6
     window screen.
7
        31. Defendant Debtor was arrested.
8
        32. Plaintiff filed for a second domestic violence restraining order in July 2016. This was
9
     granted on August 11, 2016.
10
        33. Defendant Debtor sent hundreds of texts and phone calls to Plaintiff after the issuance of,
11

12   and in violation of, the August 11, 2016 restraining order from at least 14 different phone numbers

13   and at least 6 different email addresses within a few months’ time.

14      34. The content of the voicemails left on Plaintiff's phone vacillated from conciliatory

15   messages to obsessive, sexual, apologetic, and angry utterances. Defendant Debtor called several
16   hundred times per day.
17
        35. As a result of Defendant Debtor's constant harassing phone calls and messages, Petitioner
18
     blocked Defendant Debtor's myriad telephone numbers and email addresses and ultimately had no
19
     choice but to change her own phone number.
20
        36. Between February 3, 2017 and May 7, 2017, Plaintiff received at least 42 emails from at
21
     least six different email addresses belonging to Defendant Debtor.
22
        37. Defendant Debtor left dozens of voicemails on Plaintiff's personal voicemail between
23

24   February 9, 2017 and March 27, 2017, in addition to the hundreds of phone calls.

25      38. On March 4, 20,17 Plaintiff received a package from Defendant Debtor's employer

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1       addressed to Defendant Debtor at Plaintiff’s home.

2       39. On information and belief Defendant Debtor falsely used Plaintiff's address as his residence

3    for his new employer without Plaintiff’s permission or knowledge.
4       40. On March 5, 2017, Defendant Debtor used Plaintiff's social security number and Plaintiff's
5
     personal address to purchase several items at Nordstrom on Plaintiff's credit account without
6
     Plaintiff's permission.
7
        41. On March 9, 2017, and again on April 6, 2017, in violation of the restraining order, Plaintiff
8
     received a delivery of flowers at her home address. Plaintiff confirmed that Defendant Debtor
9
     had ordered the delivery.
10
        42. Defendant Debtor also followed up with several texts on April 6 and 7, 2017 stating that
11

12   he "hope[d] the flowers meant something."

13      43. On April 23, 2017, again in violation of the restraining order, Plaintiff discovered an open

14   cup on her front porch with "Hi D. Love you. Eric" written in marker on the side.

15      44. The contents of the cup were splashed all over the sides of the cup and across Plaintiff's
16   front porch.
17
        45. Plaintiff confirmed with the security guard at her gated community that Defendant Debtor
18
     had entered under false pretenses.
19
        46. Plaintiff later received a text message from Defendant Debtor "I hope you enjoyed your
20
     smoothie[... ] Love you[... ]."
21
        47. On September 28, 2018, Defendant Debtor made a false police report claiming Plaintiff
22
     had used Defendant Debtor's ATM card to withdraw $200 on February 1, 2017.
23

24      48. On February 22, 2019, Defendant Debtor pled guilty to felony violation of Penal Code

25   Section 646.9(a) (stalking) for his behaviors toward Plaintiff on or between February 4, 2017 and

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1    May 5, 2017 in Contra Costa County Docket No. 05-181879-8 (People of the State of California

2    v. Eric Thomas Stamnes). A true and correct copy of the February 22, 2019 Felony and

3    Misdemeanor Clerk’s Docket and Minutes from Docket No. 05-181879-8 is attached hereto and
4    incorporated herein as Exhibit A.
5
          49. On the same date, the Contra Costa County Superior Court entered an Order for Victim
6
     Restitution in the above case against Defendant Debtor, a true and correct copy of which is attached
7
     hereto and incorporated herein as Exhibit B; and a 10-year Criminal Protective Order – Domestic
8
     Violence against Defendant Debtor, a true and correct copy of which is attached hereto and
9
     incorporated herein as Exhibit C.
10
          50. As a result of the criminal case conviction pursuant to CA Penal Code Section 646.9(a), on
11

12   May 1, 2019 Plaintiff filed a civil case in the same court against Defendant Debtor for the same

13   behaviors leading to his criminal conviction, alleging: stalking; domestic violence, intentional

14   infliction of emotional distress, negligent infliction of emotional distress, false imprisonment, and

15   gender violence. A true and correct conformed copy of the Complaint for Damages in Contra
16   Costa Superior Court Case No. C10-00815 (Jane Doe v. Eric Thomas Stamnes) is attached hereto
17
     and incorporated herein as Exhibit D.
18
          51. Plaintiff and Defendant Debtor reached a settlement in Case No. C10-00815 on or about
19
     December 31, 2019, but Defendant Debtor breached the settlement agreement. After waiting
20
     approximately 18 months for Defendant’s payment with no result, Plaintiff filed a motion to
21
     enforce the settlement agreement and a judgment was entered on March 22, 2022 for the total
22
     judgment amount of $46,117.50. A true and correct conformed copy of the Judgement in Contra
23

24   Costa Superior Court Case No. C10-00815 is attached hereto and incorporated herein as Exhibit

25   E.

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1       52. Subsequent to the entry of the Judgment in Contra Costa Superior Court Case No. C10-

2    00815, Defendant Debtor relocated to the State of Washington.

3       53. Plaintiff retained Washington Counsel to domesticate both California judgments in Pierce
4    County, in which county Defendant Debtor was believed to reside (Plaintiff later discovered that
5
     Defendant Debtor had relocated to King County).
6
        54. The Order for Victim Restitution entered by the California Superior Court, Contra Costa
7
     County on February 21, 2020 in Docket No. 05-181879-8 (People of the State of California v. Eric
8
     Thomas Stamnes) was domesticated in Washington in Pierce County Superior Court Case No. 22-
9
     2-07818-4 (Jane Doe v. Eric Thomas Stamnes) in the total amount of $7,851.71. A true and correct
10
     copy of the domesticated Order for Victim Restitution (hereafter, “Criminal Judgment”) is attached
11

12   hereto and incorporated herein as Exhibit F.

13      55. The civil Judgment entered by California Superior Court, Contra Costa County on March

14   22, 2022 in Case No. C19-00815 (Jane Doe v. Eric Thomas Stamnes), was domesticated in

15   Washington in Pierce County Superior Court Case No. 22-2-07818-6 (Jane Doe v. Eric Thomas
16   Stamnes) in the total amount of $46,560.00. A true and correct copy of the domesticated civil
17
     Judgment (hereafter, “Civil Judgment”) is attached hereto and incorporated herein as Exhibit G.
18
        56. Despite retaining Washington Counsel to assist her and despite a garnishment attempt,
19
     Plaintiff was unable to collect on her Judgments before Defendant Debtor filed the present Chapter
20
     7 bankruptcy action.
21
        57. This is a fact about which Defendant Debtor gloated, emailing Plaintiff on June 26, 2023
22
     with the message, “good riddance.” A true and correct copy of the email Plaintiff sent to her
23

24   attorney Ms. Wilkerson on June 30, 2023, forwarding Defendant Debtor’s 6/26/23 email, is

25   attached hereto and incorporated herein as Exhibit H.

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1        58. As is noted in Plaintiff’s email, Defendant Debtor’s email is a violation of the 10-year

2    Criminal Protective Order entered on February 22, 2019, and Plaintiff has made a police report to

3    that effect.
4                                     IV. FIRST CLAIM FOR RELIEF
5
                     (In Objection of Discharge, pursuant to 11 U.S.C. § 1328(a)(3))
6
         59. Plaintiff repeats and re-alleges the allegations set forth in Paragraphs 1 through 58 of this
7
     Adversary Complaint and incorporates the same by this reference as if more fully set forth herein.
8
         60. Pursuant to 11 U.S.C. § 1328(a)(3), Defendant Debtor’s discharge should be denied. 11
9
     U.S.C. Section 1328 provides in part, “…the court shall grant the debtor a discharge of all debts
10

11   provided for by the plan or disallowed under section 502 of this title, except any debt… for

12   restitution, or a criminal fine, included in a sentence on the debtor’s conviction of a crime.” 11

13   U.S.C. § 1328(a)(3).

14       61. Defendant Debtor was convicted of felony stalking (CA Penal Code Section 646.9(a))
15   against Plaintiff in in a criminal action heard before the California Superior Court, in Contra Costa
16
     County Case No. 05-181879-8 (People of the State of California v. Eric Thomas Stamnes).
17
         62. On February 21, 2020, a Judgment (Order for Victim Restitution) was entered against
18
     Defendant Debtor as a result of his criminal conviction.
19
         63. The Judgment was for damages arising from Defendant Debtor’s stalking and harassment
20
     actions toward Plaintiff.
21
         64. Defendant Debtor deliberately and willfully intended to stalk, harass, intimidate, and
22

23   abuse Plaintiff by his actions. These actions included malicious intent.

24       65. Defendant Debtor deliberately and willfully continued this behavior for a period of

25   approximately three years, even after the issuance of more than one criminal protection order.

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1       66. Despite the issuance of a 10-year protection order barring Defendant Debtor from

2    communicating with Plaintiff, Defendant Debtor continued his willful and deliberate campaign of

3    stalking and harassment; emailing Plaintiff as recently as June 26, 2023.
4       67. As a matter of law, both willfulness and malice are inherent in finding a defendant liable
5
     for violation of California Penal Code Section 646.9(a). According to the statute:
6
        Any person who willfully, maliciously, and repeatedly follows or willfully and maliciously
7       harasses another person and who makes a credible threat with the intent to place that person in
        reasonable fear for his or her safety, or the safety of his or her immediate family is guilty of
8       the crime of stalking, punishable by imprisonment in a county jail for not more than one year,
        or by a fine of not more than one thousand dollars ($1,000), or by both that fine and
9       imprisonment, or by imprisonment in the state prison. Id.
10      68. Through his conduct alleged above and for which he was convicted of felony stalking,
11
     Defendant Debtor received an Order of Criminal Restitution. Therefore, discharge of this debt is
12
     nondischargeable as a “debt… for restitution, or a criminal fine, included in a sentence on the
13
     debtor’s conviction of a crime” against Plaintiff; and therefore, the Judgment issued as a result of
14
     said conduct is nondischargeable under 11 U.S.C. §1328(a)(3).
15
                                     V. SECOND CLAIM FOR RELIEF
16
                     (In Objection of Discharge, pursuant to 11 U.S.C. § 1328(a)(4))
17

18      69. Plaintiff repeats and re-alleges the allegations set forth in Paragraphs 1 through 68 of this

19   Adversary Complaint and incorporates the same by this reference as if more fully set forth herein.

20      70. Pursuant to 11 U.S.C. § 1328(a)(4), Defendant Debtor’s discharge should be denied. 11

21   U.S.C. Section 1328 provides in part:
22          “…the court shall grant the debtor a discharge of all debts provided for by the plan
            or disallowed under section 502 of this title, except any debt…for restitution, or
23
            damages, awarded in a civil action against the debtor as a result of willful or
24          malicious injury by the debtor that caused personal injury to an individual or the
            death of an individual.”
25
            11 U.S.C.A. § 1328(a)(4).
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1       71. On March 22, 2022, a judgment was entered against Defendant Debtor in a civil action

2    heard before the California Superior Court, Contra Costa County Case No. C19-00815 (Jane Doe

3    v. Eric Thomas Stamnes).
4       72. Plaintiff’s claims in her civil case were for the same actions upon which Defendant Debtor
5
     was convicted of felony stalking (CA Penal Code Section 646.9(a)) in the Contra Costa County
6
     Superior Court criminal case.
7
        73. Defendant Debtor deliberately, willfully, and maliciously intended to stalk, harass,
8
     intimidate, and abuse Plaintiff by his actions.
9
        74. Defendant Debtor deliberately, willfully, and maliciously, continued this behavior for a
10
     period of approximately three years, even after the issuance of more than one criminal protection
11

12   order.

13      75. And, despite the issuance of a 10-year protection order barring Defendant Debtor from

14   communicating with Plaintiff, Defendant Debtor has continued his willful and deliberate campaign

15   of stalking and harassment in emailing Plaintiff as recently as June 26, 2023.
16      76. Defendant Debtor’s conduct was intentional, deliberate, willful, malicious, and conducted
17
     in callous disregard for Plaintiff’s rights. Plaintiff suffered damages as a result of his actions.
18
        77. By virtue of the conduct alleged above and for which Judgment was entered against
19
     Defendant Debtor, Defendant Debtor committed a willful and malicious injury against Plaintiff
20
     and therefore, the Judgment issued as a result of said conduct is nondischargeable under 11 U.S.C.
21
     §1328(a)(4).
22

23                                             VI. CONCLUSION

24            WHEREFORE, Creditor Jane Doe a/k/a Danielle Bennett demands judgment against
25   Defendant Debtor as stated below:
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1          1. That an Order finding both of Defendant Debtor’s obligations to Creditor Jane Doe

2               a/k/a Danielle Bennett are nondischargeable pursuant to 11 U.S.C. §1328(a)(3) and (4);

3          2. For Judgment in favor of Plaintiff in the amount of $54,411.71 plus additional interest
4               accrued on the civil case to be determined;
5
           3. For Costs of suit incurred herein;
6
           4. For such other relief as the Court deem just and proper.
7

8
           DATED this 20th day of July, 2023.
9

10
                                                             Wong Fleming
11

12

13                                                                                       _________
                                                             Candace M. Wilkerson, WSBA#42211
14                                                           Counsel for Creditor
                                                             Jane Doe a/k/a Danielle Bennett
15

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